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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                        Case No. 2:22-CV-14296

   AFFORDABLE AERIAL PHOTOGRAPHY, INC.,

          Plaintiff,

   v.

   PROPERTY MATTERS USA, LLC and HOME
   JUNCTION INC.,

          Defendants.



                                              COMPLAINT

         Plaintiff Affordable Aerial Photography, Inc. (“Plaintiff”) sues defendants Property

  Matters USA, LLC (“Property Matters”) and Home Junction Inc. (“Home Junction”)

  (collectively, the “Defendants”), and allege as follows:

                                             THE PARTIES

         1.      Plaintiff is a corporation organized and existing under the laws of the State of

  Florida with its principal place of business located in Indian River County, Florida.

         2.      Property Matters is a limited liability company organized and existing under the

  laws of the State of Florida with its principal place of business located at 5499 N. Federal Highway,

  Suite F, Boca Raton, FL 33487. Property Matters’ agent for service of process is Theodore Brown,

  20889 Hamaca Court, Boca Raton, FL, 33433.

         3.      Home Junction is a corporation organized and existing under the laws of the State

  of California with its principal place of business located at 1 Venture Plaza, Suite 300, Irvine, CA

  92618. Home Junction’s agent for service of process is CT Corporation System, 330 N Brand



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  Boulevard, Suite 700, Glendale, CA 91203.

                                     JURISDICTION AND VENUE

          4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

  1331 and 1338(a).

          5.       This Court has personal jurisdiction over Property Matters because it has

  maintained sufficient minimum contacts with Florida such that the exercise of personal jurisdiction

  over Property Matters would not offend traditional notions of fair play and substantial justice.

          6.      This Court has personal jurisdiction over Home Junction pursuant to Fla. Stat. §§

  48.193(1)(a)(2) because it committed a tortious act within this state, and the exercise of personal

  jurisdiction over it would not offend traditional notices of fair play and substantial justice.

  “Copyright infringement is a tortious act, and the Florida long-arm statute confers jurisdiction if

  the effects of the infringement were felt in the state. Here, it is undisputed that Plaintiff is a resident

  of Florida, and as such the effects of any alleged copyright infringement would be felt in Florida.”

  Vallejo v. Narcos Prods., LLC, No. 1:18-cv-23462-KMM, 2019 U.S. Dist. LEXIS 198109, at *5

  (S.D. Fla. June 14, 2019) (citing Roberts v. Gordy, No. 13-24700-CIV, 2015 U.S. Dist. LEXIS

  180644, 2015 WL 11202580, at *2 (S.D. Fla. Apr. 14, 2015)). Roof & Rack Prods., Inc. v. GYB

  Inv'rs, LLC, No. 13-80575-CV, 2014 U.S. Dist. LEXIS 92334, at *2 (S.D. Fla. July 8, 2014)

  (“Copyright infringement is a tortious act, and a person who infringes upon a copyright whose

  owner resides in Florida causes injury inside the state.”); Venus Fashion, Inc. v. Changchun

  Chengji Tech. Co., No. 16-61752-CIV-DIMITROULEAS/S, 2016 U.S. Dist. LEXIS 194263, at

  *6-7 (S.D. Fla. Nov. 2, 2016) (“In cases involving online intellectual property infringement, the

  posting of an infringing item on a website may cause injury and occur in Florida by virtue of the

  website's accessibility in Florida, regardless of where the offensive material was posted.”)


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  (collecting cases).

          7.      Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

  Defendants or their agent(s) reside or may be found in this district. “In other words, ‘if a court has

  personal jurisdiction over the defendants in a copyright infringement action, venue in that court’s

  district is proper.’” McGregor v. In Tune Music Grp., No. 15-62044-CIV-ZLOCH, 2016 U.S.

  Dist. LEXIS 190302, at *11 (S.D. Fla. July 29, 2016) (quoting Store Decor Div. of Jas Int'l, Inc.

  v. Stylex Worldwide Indus., Ltd., 767 F. Supp. 181, 185 (N.D. Ill. 1991).

                                                   FACTS

  I.      Plaintiff’s Business and History

          8.      Plaintiff was created as a Florida corporation in June 2005.            Plaintiff’s sole

  shareholder is Robert Stevens.

          9.      For the past sixteen (16) years, Mr. Stevens has been employed by Plaintiff as a

  high-end real estate photographer who specializes in aerial photography, stunning exterior and

  interior shots, as well as offering slide shows, virtual tours, and a full array of stock photography

  for luxury real estate industries.

          10.     Mr. Stevens is a pioneer of aerial real estate photography and has been engaging in

  creative and artistic means to capture such photographs long before today’s proliferation of

  consumer drone technology came to market.

          11.     Mr. Stevens travels throughout the State of Florida, nationally, and internationally

  to photograph high-end real estate on behalf of Plaintiff’s clients. He has been contracted by over

  280 clients to take professional photographs of various real estate projects, including but not

  limited to the estates of numerous celebrities (such as Madonna, Don King, Greg Norman, Rod

  Stewart, Ivana Trump, James Patterson, Alexander Haig, Ann Downey, Frank McKinney, Chris


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  Evert, and others).

         12.     Plaintiff maintains a commercial website (www.robertstevens.com) which

  describes the photography services offered by Plaintiff, hosts a sample portfolio of photographs

  taken by Mr. Stevens, and invites prospective customers to contact Plaintiff to arrange for a

  professional photo shoot.

         13.     Plaintiff owns the photographs taken by Mr. Stevens and serves as the licensing

  agent with respect to licensing such photographs for limited use by Plaintiff’s customers. To that

  end, Plaintiff’s standard terms include a limited, one-time license for use of any particular

  photograph by the customer only. Plaintiff’s license terms make clear that all copyright ownership

  remains with Plaintiff and that its customers are not permitted to transfer, assign, or sub-license

  any of Plaintiff’s photographs to another person/entity.

         14.     Generally, at the time Plaintiff creates its professional photography, it applies

  copyright management information to such photography consisting of “© AAP [year] all rights

  reserved” to the bottom left corner thereof. Plaintiff does this for added protection/assurance to

  keep unauthorized persons from utilizing/displaying Plaintiff’s work.

  II.    The Work at Issue in this Lawsuit

         15.     In 2010, Plaintiff created a photograph titled “PRESIDENTIAL PLACE FRONT

  AERIAL 2010 AAP” (the “Work”). Consistent with Plaintiff’s general practices, the Work

  contains (in the bottom left corner) Plaintiff’s copyright management information as follows: “©

  AAP 2010 all rights reserved.” A copy of the Work is exhibited below:




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            16.    The Work was registered by Plaintiff with the Register of Copyrights on April 6,

  2018 and was assigned Registration No. VA 2-097-651. A true and correct copy of the

  Certification of Registration pertaining to the Work is attached hereto as Exhibit “A.”

            17.    Plaintiff is the owner of the Work and has remained the owner at all time’s material

  hereto.

   III.     Defendants’ Unlawful Activities

             18.   Property Matters is a real estate brokerage in Boca Raton, FL.

             19.   Property Matters advertises/markets its business primarily through its website

   (https://www.propertymatters.net/),                     social                  media         (e.g.,

   https://www.facebook.com/PropertyMattersUSA/), and other forms of advertising.

             20.   Home Junction is a real estate marking solutions and services provider. In 2020,

   Home Junction was acquired by ATTOM Data Solutions (the curator of the nation’s premier

   property database). Home Junction manages over 200 MLS RETS and RESO API feeds.


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          21.   Home Junction advertises/markets its business primarily through its website

   (https://www.homejunction.com/),                      social                  media       (e.g.,

   https://www.facebook.com/homejunction), and other forms of advertising.

          22.    At all times relevant hereto, Property Matters and Home Junction maintained a

   contractual relationship whereby Property Matters was retained to design, develop and manage

   Home Junction’s website.

          23.   To that end, Home Junction was responsible for designing and managing Property

   Matters’ website for Property Matters’ review and approval, and, upon receipt of such approval,

   Home Junction would publish that content on Property Matters’ behalf.

          24.   On a date after Plaintiff’s above-referenced copyright registration of the Work,

   Property Matters and/or Home Junction published the Work on Property Matters’ website (at

   https://www.propertymatters.net/area/presidential-place-condos-for-sale/#):




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          25.   A true and correct copy of screenshots of Property Matters’ website, displaying

   the copyrighted Work, is attached hereto as Exhibit “B.”

          26.   Defendants are not and have never been licensed to use or display the Work.

   Defendants never contacted Plaintiff to seek permission to use the Work in connection with

   Property Matters’ website.

          27.   Defendants utilized the Work for commercial use – namely, in connection with the

   marketing of Property Matters’ business.

          28.   Upon information and belief, Property Matters and/or Home Junction located a

   copy of the Work on the internet and, rather than contact Plaintiff to secure a license, simply

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   copied the Work for Property Matters’ own commercial use.

           29.   Through its ongoing diligent efforts to identify unauthorized use of its photograph,

   Plaintiff discovered Defendants’ unauthorized use/display of the Work in February 2022.

   Following Plaintiff’s discovery, Plaintiff notified Defendants in writing of such unauthorized use.

   To date, Plaintiff has been unable to negotiate a reasonable license for the past infringement of

   its work.

           30.   All conditions precedent to this action have been performed or have been waived.


                           COUNT I – COPYRIGHT INFRINGEMENT
                                      (Home Junction)

           31.   Plaintiff re-alleges and incorporates paragraphs 1 through 30 as set forth above.

           32.   The Work is an original work of authorship, embodying copyrightable subject

   matter, that is subject to the full protection of the United States copyright laws (17 U.S.C. § 101

   et seq.).

           33.   Plaintiff owns a valid copyright in the Work, having registered the Work with the

   Register of Copyrights and owning sufficient rights, title, and interest to such copyright to afford

   Plaintiff standing to bring this lawsuit and assert the claim(s) herein.

           34.   As a result of Plaintiff’s reproduction, distribution, and public display of the Work,

   Home Junction had access to the Work prior to its own reproduction, distribution, and public

   display of the Work on Property Matters’ website.

           35.   Home Junction reproduced, distributed, and publicly displayed the Work without

   authorization from Plaintiff.

           36.   By its actions, Home Junction directly infringed and violated Plaintiff’s exclusive

   rights in violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and


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   publicly displaying the Work for its own commercial purposes and for the commercial purposes

   of Property Matters.

         37.     Alternatively, to the extent Home Junction did not directly infringe Plaintiff’s rights

  in the Work, Home Junction is liable for contributory infringement.

         38.     As Home Junction guides, directs and manages the website for its clients, Home

  Junction has the ability to influence and control the infringing acts of its clients.

           39.     “Even though the Copyright Act does not specifically provide for secondary

   liability, vicarious and contributory copyright infringement are well established principles

   derived from common law.” BUC Int'l Corp. v. Int'l Yacht Council Ltd., 489 F.3d 1129, n. 19

   (11th Cir. 2007) (citing Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930-

   31, 125 S. Ct. 2764, 2776, 162 L. Ed. 2d 781 (2005)). “For [a defendant] to be secondarily liable,

   the [plaintiff] must establish that there has been direct infringement by a third party.” Venus

   Fashions, Inc. v. ContextLogic, Inc., No. 3:16-cv-907-J-39MCR, 2017 U.S. Dist. LEXIS 155748,

   at * 32 (M.D. Fla. Jan. 17, 2017); Optimum Techs., Inc. v. Henkel Consumer Adhesives, Inc.,

   496 F.3d 1231, 1245 (11th Cir. 2007) (“contributory infringement claim requires, at a minimum,

   both an allegation of a direct infringement by a third party, and an allegation of an intentional or

   knowing contribution to that infringement by the defendant.”). “A claim of contributory

   copyright infringement arises against one who intentionally induces or encourages the direct

   infringement of another.” Cambridge Univ. Press v. Patton, 769 F.3d 1232, 1242 n.6 (11th Cir.

   2014); BUC Int'l Corp., 489 F.3d at 1138 n.19 (“Contributory copyright infringement refers to

   the intentional inducement, causation or material contribution to another's infringing conduct.”).

           40.   Thus, assuming Home Junction did not directly infringe, Home Junction caused or

   materially contributed to Property Matters’ infringing activity. Home Junction encouraged


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   Property Matters to utilize copyrighted imagery on Property Matters’ website, all while knowing

   the material was copyright protected.

          41.      Home Junction obtained a direct financial benefit from its own and/or Property

   Matters’ infringing activities.

          42.      Home Junction’s infringement was willful as it acted with actual knowledge or

   reckless disregard for whether its conduct infringed upon Plaintiff’s copyright.

          43.      Home Junction manages over 200 MLS RETS and RESO API feeds and has years

   of experience. It clearly understands that high-end real estate photography – especially that

   containing copyright management information such as the Work – is generally paid for and

   cannot simply be copied from the internet.

          44.      Plaintiff has been damaged as a direct and proximate result of Home Junction’s

   infringement.

          45.      Plaintiff is entitled to recover its actual damages resulting from Home Junction’s

   unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b), Plaintiff

   is entitled to recover damages based on a disgorgement of Home Junction’s profits from

   infringement of the Work, which amounts shall be proven at trial.

          46.      Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

   pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

          47.      Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its costs and

   attorneys’ fees because of Home Junction’s conduct.

          48.      Home Junction’s conduct has caused, and any continued infringing conduct will

   continue to cause irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no

   adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent


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   injunction prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

          WHEREFORE, Plaintiff demands judgment against Home Junction as follows:

     a. A declaration that Home Junction has infringed Plaintiff’s copyrights in the Work;

     b. A declaration that such infringement is willful;

     c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

          Plaintiff’s election, an award of statutory damages for willful infringement up to

          $150,000.00 for each infringement of the Work;

     d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

     e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

     f. Permanently enjoining Home Junction, its employees, agents, officers, directors, attorneys,

          successors, affiliates, subsidiaries and assigns, and all those in active concert and

          participation with Home Junction, from directly or indirectly infringing Plaintiff’s

          copyrights or continuing to display, transfer, advertise, reproduce, or otherwise market any

          works derived or copied from the Work or to participate or assist in any such activity; and

     g. For such other relief as the Court deems just and proper.

                          COUNT II – COPYRIGHT INFRINGEMENT
                                     (Property Matters)

           49.   Plaintiff re-alleges and incorporates paragraphs 1 through 30 as set forth above.

           50.   The Work is an original work of authorship, embodying copyrightable subject

   matter, that is subject to the full protection of the United States copyright laws (17 U.S.C. § 101

   et seq.).

           51.   Plaintiff owns a valid copyright in the Work, having registered the Work with the

   Register of Copyrights and owning sufficient rights, title, and interest to such copyright to afford

   Plaintiff standing to bring this lawsuit and assert the claim(s) herein.
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             52.   As a result of Plaintiff’s reproduction, distribution, and public display of the Work,

   Property Matters had access to the Work prior to its own reproduction, distribution, and public

   display of the Work on its website.

             53.   Property Matters reproduced, distributed, and publicly displayed the Work without

   authorization from Plaintiff.

             54.   By its actions, Property Matters infringed and violated Plaintiff’s exclusive rights

   in violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

   displaying the Work for its own commercial purposes.

             55.   Alternatively, to the extent Property Matters did not directly infringe Plaintiff’s

   rights in the Work, Property Matters is liable for vicarious infringement.

             56.   As the owner of the website in question and the entity which retained Home

   Junction to design/manage its website, Property Matters has the right and ability to control the

   infringing acts of Home Junction yet declined or failed to stop Home Junction from engaging in

   its infringing activity.

             57.   Property Matters is a real estate brokerage that relies on photography to showcase

   properties for sale. It clearly understands that high-end real estate photography – especially that

   containing copyright management information such as the Work – is generally paid for and

   cannot simply be copied from the internet. Notably, Property Matters itself utilizes a copyright

   disclaimer on its website (“© 2022 Property Matters. All Rights Reserved.”), indicating that

   Property Matters understands the importance of copyright protection and intellectual property

   rights.

             58.   As a direct and proximate result of Property Matters’ direct and/or vicarious

   copyright infringement, Plaintiff has been damaged. See, e.g., Broad. Music, Inc. v. Evie's


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   Tavern Ellention, Inc., No. 8:11-cv-2056-T-17TBM, 2011 U.S. Dist. LEXIS 137720, at *5-8

   (M.D. Fla. Nov. 30, 2011) (“Because Defendants, Evie's and Evanoff, benefited from the

   performances and admitted they owned, controlled, managed, and operated Evie's, they are

   vicariously liable for the infringement.”); LaTele TV C.A. v. Telemundo Communs. Grp., LLC,

   No. 12-22539-CIV-ROSENBAUM, 2013 U.S. Dist. LEXIS 43488, at *32 (S.D. Fla. Mar. 26,

   2013) (“[P]leading facts sufficient to pierce the corporate veil is not required in order to state a

   cause of action for vicarious copyright infringement.”).

          59.    Plaintiff is entitled to recover its actual damages resulting from Property Matters’

   unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b), Plaintiff

   is entitled to recover damages based on a disgorgement of Property Matters’ profits from

   infringement of the Work, which amounts shall be proven at trial.

          60.    Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

   pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

          61.    Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its costs and

   attorneys’ fees as a result of Property Matters’ conduct.

          62.    Property Matters’ conduct has caused and any continued infringing conduct will

   continue to cause irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no

   adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

   injunction prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

         WHEREFORE, Plaintiff demands judgment against Property Matters as follows:

      h. A declaration that Property Matters has infringed Plaintiff’s copyrights in the Work;

      i. A declaration that such infringement is willful;

      j. An award of actual damages and disgorgement of profits as the Court deems proper or, at


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         Plaintiff’s election, an award of statutory damages for willful infringement up to

         $150,000.00 for each infringement of the Work;

      k. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

      l. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

      m. Permanently enjoining Property Matters, its employees, agents, officers, directors,

         attorneys, successors, affiliates, subsidiaries and assigns, and all those in active concert and

         participation with Property Matters, from directly or indirectly infringing Plaintiff’s

         copyrights or continuing to display, transfer, advertise, reproduce, or otherwise market any

         works derived or copied from the Work or to participate or assist in any such activity; and

      n. For such other relief as the Court deems just and proper.

                                         Demand For Jury Trial
  Plaintiff demands a trial by jury on all issued so triable.

  Dated: August 21, 2022.


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